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                         United States District Court
                                EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

MAGNUS PERSSON, Derivatively on                 §
behalf of DIODES, INC.                          §
                                                §
v.                                              §        Case No. 6:14-CV-245
                                                §
KEH-SHEW LU, et al.                             §

               ORDER GRANTING UNOPPOSED MOTION TO STAY DEADLINES
     .
         Came on for consideration the Unopposed Motion to Stay Deadlines (Doc. No. 8), the

 Court is of the opinion that the motion should be GRANTED.

         IT IS, THEREFORE, ORDERED that the Unopposed Motion to Stay Deadlines is

 granted and that the deadlines between Plaintiff and Defendants are stayed until such time as

 the Court rules on Defendants’ Motion to Dismiss in Cause No. 6:13cv-247.

         It is SO ORDERED.
         SIGNED this 16th day of April, 2014.




                                                        ____________________________________
                                                        MICHAEL H. SCHNEIDER
                                                        UNITED STATES DISTRICT JUDGE




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